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                                   73624


 Control    Number          GOOG-AT-MDL-000881089

 All    Custodians          Ali Nasiri Amini, Bashar
                            Kachachi, Bonnie Pericolos1, Brent
                            Besson, Nirmal Jayaram, Vivek Rao

 Custodian      :           Brent   Besson

 Date/Time      Created     1/24/2020    6:54   PM

 Date/Time      Sent

 MODIFICATION        DATE   9/14/2022    4:03   PM

 File    Name   :           DEM   optimizations      deep
                            dive_1wOvdhdO0zu4A9zwOhUulyz
                            Fd3uS081 MBGBd17HMb91-w. pptx




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                                          73625
           Google
           Go  gle




                                         DV360 optimizations
                                         DV360 optimizations
                                            ENG deep
                                            ENG deep dive
                                                      dive




           Confldentlal-t-Proprli!tary




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                                                                        GOOG-AT-MDL-000881089

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             DV360 five
             DV360 five years
                        years ago
                              ago
             @
             @   NMiostly fixed
                 Mostly   fixed CPM
                                CPM manual
                                    manual biddlng
                                           bidding
                 ooO   Just after
                       Just afer skyray
                                  skyray
                 G
                 o     Auto-bidding oroducts weren't
                       Auto-bldding products weren't effectlve
                                                     effective or
                                                               or reliable
                                                                  rellable
                 ©
                 o     Auto-bidding acootion was
                       Auto-bldding adoption was "'15%
                                                 “15% and
                                                       and shrinking
                                                           shrinking
             @
             @   Exchanges were
                 Exchanges were startlng
                                starting to
                                         to move
                                            move to
                                                 to non-second-prlce
                                                    non-second-price (lncludlng
                                                                     (including first-prlce)
                                                                                first-price)}
                 AUCTIONS
                 auctions
                 Oo
                 o     DV360 dld
                       DV.360 cid not
                                  not account
                                      account for
                                              for exchange
                                                  exchange auctlon
                                                           auction mechanisms
                                                                   mechanisms
                 ©
                 o     SPE accounted
                       3PE accounted for
                                     for over
                                         over 50'%
                                              50% of
                                                   of DV360
                                                      DV360 spend
                                                            spend




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HIGHLY CONFIDENTIAL                                                                 GOOG-AT-MDL-000881090
                                                                                    GOOG-AT-MDL-000881090

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            We leveraged
            We leveraged optimizations
                         optimizations to
                                       to revamp
                                          revamp the
                                                 the product
                                                     product
             e
             @   \Ve completely
                 We  completely revamped
                                revamped the
                                         the auto-blddlng
                                             auto-bidding offerings
                                                          offerings
                 ©
                 o    improved the
                      Improved the underlylng
                                   underlying core
                                              core models
                                                   models and
                                                          and technology
                                                              technology to
                                                                         to ma
                                                                            make the
                                                                                 the
                      oroduct more
                      product more effective
                                   effective and
                                             anc reliable
                                                 reliable
                 ©
                 o    increased the
                      increased the suite
                                    suite of
                                          of auto-bldding
                                             auto-bidding products
                                                          products avallable
                                                                   available to
                                                                             to advertisers
                                                                                advertisers
             @
             @   Optimize DV360
                 Optlmlze DV360 buylng
                                buying on
                                       on exchanges
                                          exchanges wlth
                                                    with adversarlal
                                                         adversarial auctlon
                                                                     auction mechanlsms
                                                                             mechanisms
                 ©
                 o    This applies
                      Thls applies on
                                   on both
                                      both auto-bidding
                                           auto-bidding and
                                                        and fixed-blddlng
                                                            fixed-bidcing adgroups
                                                                          adgroups
                 ©
                 o    From that
                      From that perspective,
                                perspective, 100%
                                             100% of
                                                  of DV.360
                                                     DV360 has
                                                            has optimized
                                                                optimized blddlng
                                                                          bidding and
                                                                                  and is
                                                                                      fs not
                                                                                         not
                      just a "dumb
                      just a “dumb plpe"
                                   pipe”




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HIGHLY CONFIDENTIAL                                                                  GOOG-AT-MDL-000881091
                                                                                     GOOG-AT-MDL-000881091

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              Impact on
              Impact on auto-bidding
                        auto-bidding adoption
                                     adoption

                                                                                    80% now
                                                                                    80% now
                                                                                                  DV360, , Monthly
                                                                                                           Monthly Revenue
                                                                                                                   Revenue ($)
                                                                                                                           ($)
                 Auto-bidding adoption(%)
                              adoption (%) vs.
                                           vs. Year-Month
                                               Year-Month                              Pal
                                                                                                  DV360
                 Auto-bidding
                                                                                                                              -==   Revenue
                                                                                                                                    Revenue   -=   Autobidding Revenue
                                                                                                                                                   Autobidding Revenue      Fixed Bidding
                                                                                                                                                                         .- Fixed Bidding Revenue
                                                                                                                                                                                          Revenue
                                         80%
                                         80%
                                                                                                                    $800,000,000
                                                                                                                    $800,000,000
                                         70%
                                         70%

                                         60%
                                         60%
                                                                                                                    $600,000,000
                                                                                                                    $600,000,000
            Auto-bidding adoption (%)




                                                                                              Monthly Revenue ($)
                                         50%
                                         50%

                                         40%                                                         ;
                                        4008                                                     ::..
                                                                                                 $                  $400,000,000
                                                                                                                    $400,000,000
                                         30%
                                         30%
                                                                                                 1"E
                                         20%
                                         20%                                                      ~                 $200,000,000
                                                                                                                    $200,000,000
                                         10%
                                         10%

                                          0% - - - - - - - - - - - - - - - - - - - -
                                          0%                                                                                  10
                                         2017-04
                                          2017-01   2018-01
                                                    2018-01   2019-01
                                                              2019-01   2020-01
                                                                        2020-01  2021-01
                                                                                 2021-01                                     br                          2018-01
                                                                                                                                                         2018-01                  2019-01
                                                                                                                                                                                  2019-01           2020-01
                                                                                                                                                                                                    2020-01
                                                              Year-Mooth
                                                              Year-Menth                                                                                             Year-Month
                                                                                                                                                                     Year-Month




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HIGHLY CONFIDENTIAL                                                                                                                                                                  GOOG-AT-MDL-000881092
                                                                                                                                                                                     GOOG-AT-MDL-000881092

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            We have
            We have a
                    a suite
                      suite of
                            of auto-bidding
                               auto-bidding products
                                            products
             ®
             @   Maximize conversions
                 Maximize conversions is
                                      is by
                                         by far
                                            fer the
                                                the
                 largest product
                 lar-gest product                      Product
                                                       Product                  Share
                                                                                Share

             ®
             @   Click and
                 Ciick and conversion
                           conversion based
                                      based products
                                            products   Maximize Conversions
                                                       Maximize Conversions                 54.3%
                                                                                            54.3%

                 account for
                 account for 82%
                             82% of
                                 of auto-bidding
                                    auto-bidding       Maximize Clicks
                                                       Maximize Clicks                      17.5%
                                                                                            17.5%

                 spend
                 spend                                 Maximize Act
                                                       Maximize Active  Views
                                                                    ive Views                5.9%
                                                                                             9.9%

                                                       Target CPA
                                                       Target CPA                            6.4%
                                                                                             6.4%

                                                       Maximize AVOC
                                                       Maximize AVOC                         5.1%
                                                                                             5.1%

                                                       Target
                                                       Ta      CPC
                                                          rget CPC                           4.2%
                                                                                             4.2%

                                                       Custom Bidding
                                                       Custom Bidding                        2.1%
                                                                                             2.1%

                                                       Maximize TOS10
                                                       Maximize TOS10                        0.7%
                                                                                             0.7%




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HIGHLY CONFIDENTIAL                                                                     GOOG-AT-MDL-000881093
                                                                                        GOOG-AT-MDL-000881093

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            Core improvements
            Core improvements




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                                                                        GOOG-AT-MDL-000881094

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            Bidding optimization
            Bidding optimization
             ®
             @    \We first
                  We        moved the
                      first moved the underlying
                                      underlying bidding
                                                 bidding technology
                                                         technology to
                                                                    to HDMI
                                                                       HDMI! (to
                                                                             (fo be
                                                                                 be covered
                                                                                    covered in
                                                                                            inaa
                  separate deepdive)
                  separate deepdive}
             ®
             @    The bidding
                  The bidding po!icy
                              policy ls
                                     is the
                                        the solution
                                            solution to
                                                     to an
                                                        an optimization
                                                           optimization problem
                                                                        problem to
                                                                                to maximize
                                                                                   maximize
                  advertiser value
                  advertiser       sublect to
                             value subject to constralnts
                                              constraints e,g,
                                                          e.g.
                                       Maximize Conversions
                                       Ma:,<imize Conversions
                                       subject to
                                       subject to
                                       Spend s
                                       Spend © Budget
                                               Budget
                                       CRA ::c
                                       G'A = tCPA
                                               tOPA

             ®
             @    HDMi works
                  HDMI       by building
                       works by buliding a
                                         a model
                                           model of
                                                 of the
                                                    the market,
                                                        market, while recognizing that
                                                                while recognizing that we
                                                                                       we only
                                                                                          only see
                                                                                               see
                  a partial
                  a partial view
                            view of
                                 of the
                                    the market,
                                        market, and
                                                and leveraging
                                                    leveraging our
                                                               our signals
                                                                   signals (e,g,,
                                                                           fe.g., pCvR)
                                                                                  oCvR} to
                                                                                        to identlfy
                                                                                           identify the
                                                                                                    the
                  optimal bidding
                  optimal bidding policy
                                  policy
             ®®   This !aunched
                  This launched doub!ed
                                doubled the
                                        the conversions
                                            conversions at
                                                        at the same tCPA
                                                           the same tCPA




HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL                                                                            GOOG-AT-MDL-000881095
                                                                                               GOOG-AT-MDL-000881095

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            Bidding optimization
            Bidding optimization
             e®
             @    While the
                  While the technology
                            technology was
                                       was previously
                                           previously used
                                                      used in
                                                           in Adwords,
                                                              Adwords, several
                                                                       several DV360
                                                                               DV350 nuances
                                                                                     nuances
                  needed to
                  needed to be
                            be handled
                               handied
                   ©
                   o     Advertisers pay
                         Advertisers pay per
                                         per irnpression,
                                             inipression, so
                                                          so impression-level
                                                             impression-level data
                                                                              data needed
                                                                                   neeced to
                                                                                          te be used
                                                                                                used
                   ©
                   o     Asignificant
                         A             portion of
                           significant portion of DV360
                                                  DV360 spends
                                                        spends is
                                                               Is on
                                                                  on 3PE,
                                                                     SPE, which introduces ecosystem-
                                                                          which introduces ecosystem-
                         based challenges
                         based challenges
                   oGo   Alargse
                         A       portion of
                           large portion of advertisers
                                            advertisers vaiue
                                                        value CTCs
                                                              CTCs and
                                                                   and VTCs
                                                                       VTCs
                   ©
                   o     Data sharing
                         Data shering poiicy
                                      pallcy posed
                                             posed challenges
                                                   challenges -~ had
                                                                 had to
                                                                     to build
                                                                        bulld siioed
                                                                              siloecd models
                                                                                      models using
                                                                                             using PEAR
                                                                                                   PEAR
                         army (xbao@'s
                         army (xbeo@'s team)
                                       team) -- separate
                                                separate deep-dive
                                                         deep-cdive for
                                                                    for predictions
                                                                        predictions
             ®
             @    Recently, post
                  Recently, post AdX
                                 Adx 1.p
                                     Ip migration,
                                         migration, we
                                                    we have
                                                       have been
                                                            been able
                                                                 able to
                                                                      to get
                                                                         get a
                                                                             a fuil
                                                                               full picture
                                                                                    picture of
                                                                                            of the
                                                                                               the
                  market because
                  market because AdK snares HOBs,
                                 AdX shares HOBs, that has enabied
                                                  that has enabled us
                                                                   us to
                                                                      to make
                                                                         make HDMI
                                                                              HDMI even
                                                                                   even more
                                                                                        more
                  oowertul
                  powerful




HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL                                                                            GOOG-AT-MDL-000881096
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            Budget handling
            Budget handling
             @    Used to
                  Used fo be
                          be a
                             a major
                               major pain
                                     pain point
                                          point for
                                                for many
                                                    many advertisers
                                                         advertisers
             @    farrier, budgets
                  Ear-lier, budgets and
                                    and bldcling
                                        bidding were
                                                 were treated as separ-ate
                                                      treated as senarate cornponents,
                                                                           components, though
                                                                                       though they
                                                                                              they are
                                                                                                   ere
                  “2 sides
                  "2. sides of
                            of the
                               the sarne
                                   same coin"
                                         coin”
                                       Maximize Conversions
                                       rv1axirnize Conversions
                                      sublect to
                                      subject to
                                      Spend ::;
                                      Spend < Budget
                                                Budget


             ®®   \Ve embai-ked
                  We  embarked on
                                on a
                                   a series
                                     series of
                                            of projects
                                               projects that
                                                        that rolled
                                                             rolled budget
                                                                    budget handling
                                                                           handling into
                                                                                    Into the
                                                                                         the bid
                                                                                             bid
                  optimization framework,
                  optim[zation framework, al!owing
                                          allowing us
                                                   us to
                                                      to significantly
                                                         significantly [mprove
                                                                       improve budget
                                                                               budget attainment
                                                                                      attainment and
                                                                                                 and
                  performance.
                  performance.




HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL                                                                          GOOG-AT-MDL-000881097
                                                                                             GOOG-AT-MDL-000881097

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HIGHLY CONFIDENTIAL                                                     GOOG-AT-MDL-000881098
                                                                        GOOG-AT-MDL-000881098

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             lO opt
             10 opt
             •@e   DV360 allows
                   DV360 allows advertisers
                   budgets at
                   budgets
                   line item
                   line
                                advertisers to
                           at the
                              the 10
                        item level
                             level
                                  IO level
                                            to set
                                     level as
                                               set
                                           as well
                                              well as
                                                   as at
                                                      at the
                                                         the
                                                                                             Il
                                                                                                  ~i  I
                                                                                                          /          10 level
                                                                                                                     IO level
                                                                                                                     budget
                                                                                                                     budget




                                                                                                    —
                                                                                             I
                                                               AdGroup   1: Max
                                                                            Max




                                                                                                    —
                                                               AdGroup 1:                    :        :
             •e    Advertisers can set
                   Advertisers can set these
                                       these LI
                                             LI level
                                                level          conversions --
                                                               conversions  -- CPA
                                                                               CPA $20
                                                                                   $20       1        1




                                                                                                    SS
                                                                                             I_I
                   budgets manually
                   budgets manually or
                                    or using
                                       using Auto-
                                             Auto-                                           —                    AdGroup
                                                                                                                  AdGroup 2:2: Max
                                                                                                                               Max
                                                                                             101
                                                                                                                  conversions --
                                                                                                                               -- CPA
                                                                                                                                  CPA $5




                                                                                                    SS
                                                                                                                  conversions         $5
                   Budget-Allocation (ABA)
                   Budget-Allocation (ABA)
                                                                                             :o:




                                                                                                    SS
                                                                                             l
                                                                                                                  AdGroup 3: Max clicks --
             •e    ABAwas  originally invented
                                      invented to
                                               to help
                                                  help
                                                                                             G                    innit
                                                                                                                  cpcsa$1 decimal
                                                                                             I
                   ABA was originally                                                             | yt




                                                                                                    =
                                                                                             I                    CPC




                                                                                                    ===
                                                                                             l
                   advertisers in
                   advertisers in a
                                  a world
                                    world where
                                          where bidding
                                                bidding            aL 4:
                                                                AdGroup    4: Fixed
                                                                              Fixed bidding
                                                                                    bidding | ™
                                                               -- CPM
                                                                  CPM $2$2                  -—s - \
                   wasn’t optimized, but
                   wasn't optimized, but now
                                         now DV360
                                             DV360 is
                                                   is                                                     \
                                                                                                              \
                                                                                                                    LI level budgets
                   100% optimized
                   100% optimized bidding
                                  bidding......                                                                     Li level budgets




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HIGHLY CONFIDENTIAL                                                                                                       GOOG-AT-MDL-000881099
                                                                                                                          GOOG-AT-MDL-000881099

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             lO Opt
             10 Opt


                                       ,-/
                                                              [0 level
                                                                  level                                                        10 level
                                                                                                                                  level

                                                                                                                        I
                                                              IO                                                               IO
                                            J                  budget
                                                               budget                                               i          budget
                                                                                                                               budget
                                                 ft
                                                  I




                                      eee
                                                  1
            AdGroup
            AdGroup 1:1: Max
                         Max                      1                                     AdGroup
                                                                                        AdGroup 1:1: Max
                                                                                                     Max
            conversions  -- CPA
            conversions --  CPA $20
                                $20     1         1                                     conversions --
                                                                                        conversions  -- CPA
                                                                                                        CPA $20
                                                                                                            $20
                                        I
                                            = I            AdGroup 2:
                                                           AdGroup   2: Max
                                                                        Max                                                  AdGroup 2: Max
                                                                                                                             AdGroup 2: Max
                                        101

                                      nme
                                            Ll             conversions --
                                                           conversions  -- CPA
                                                                           CPA $5
                                                                               $5                                            conversions --
                                                                                                                             conversions -- CPA
                                                                                                                                            CPA $5
                                                                                                                                                $5
                                        :o: Lh
                                                  1
                                                           AdGroup 3:
                                                           AdGroup 3: Max
                                                                      Max clicks
                                                                          clicks ----                                        AdGroup 3: Max
                                                                                                                             AdGroup 3: Max clicks
                                                                                                                                            clicks --
                                                                                                                                                   --

            AdGroup
            AdGroup 4: Fixed bidding
                    4: Fixed            Qj
                             bidding j Ni
                                                  1        CPCS1
                                                           CPC $1
                                                                                         AdGroup 4:
                                                                                         AdGroup  4: Fixed
                                                                                                     Fixed bidding
                                                                                                           bidding +)►
                                                                                                                             CPC $1
                                                                                                                             CPC $1
                                      se




            -- CPM
               CPM $2
                   $2                   - -ON\                                          -- CPM
                                                                                           CPM $2
                                                                                               $2                      %.
                                                                                                                       '\
                                                      ''                                                                ''
                                                             LI level
                                                             LI level budgets
                                                                      budgets                                                All Lis
                                                                                                                             All LIs share
                                                                                                                                      share the
                                                                                                                                            the IO
                                                                                                                                                IO
                                                                                                                                     budget
                                                                                                                                    budget




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HIGHLY CONFIDENTIAL                                                                                                                   GOOG-AT-MDL-000881 100
                                                                                                                                      GOOG-AT-MDL-000881100

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             lO opt
             10 opt adoption
                    adoption
               •@      The budget
                       The  budget allocation
                                    allocation is
                                                is a
                                                   a natural
                                                     natural outcome
                                                              outcome of   of the
                                                                              the solution
                                                                                   solution to
                                                                                             to the
                                                                                                the
                       optimization problem
                       optimization   problem
               •@      The optimization
                       The  optimization increased
                                           increased spend
                                                       spend byby 20%
                                                                   20% and
                                                                         and CPD
                                                                               CPD byby 25%!
                                                                                        25%!
               •@      Since launch
                       Since  launch in
                                     in end
                                        end of
                                             of Ql
                                                Q1 2019,
                                                     2019, 10
                                                            IO opt
                                                                opt has
                                                                     has seen
                                                                          seen steep
                                                                                 steep growth
                                                                                        growth and
                                                                                                 and is
                                                                                                     is now
                                                                                                        now at
                                                                                                            at
                       $1.2B ARR
                       $1.2B  ARR
              $100,000.COO



               S75.000.000
                                                                                                                   —

               sso.ooo.ooo


               $25.000.000




                       ~01901          201~03          201905   2019-06   201907   2D19--08   20 19-09   2019·10




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HIGHLY CONFIDENTIAL                                                                                                    GOOG-AT-MDL-000881 101
                                                                                                                       GOOG-AT-MDL-000881101

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            Key new
            Key new products
                    products




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HIGHLY CONFIDENTIAL                                                     GOOG-AT-MDL-000881 102
                                                                        GOOG-AT-MDL-000881102

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            Brand/video optimizations
            Brand/video optimizations
             @   The underlying
                 The underlying bidding
                                bidding technology
                                        technology can
                                                   can be used
                                                          used ln
                                                               in conjunction
                                                                  conjunction with several
                                                                              with sever-a!
                 optimization goals,
                 optimization goals.
             ®
             @   Asaa result,
                 As   result, we have been
                              we have been able
                                           able to
                                                to introduce
                                                   introduce rnuitip!e
                                                             multisie new
                                                                       new brand/video
                                                                           brand/video optimlzation
                                                                                       optimization
                 goals that
                 goais that have
                            have had
                                 had successful
                                     successful adoption
                                                adootion
                  OG
                  o    AVOC: Audible
                       AVOC: Audible &
                                     & Viewable
                                       Viewable on
                                                on Completion
                                                   Compietion
                  oO
                  o    TOSiO: Time
                       TOS:l.0: Time on
                                     an screen>=
                                        screen >= :l.0
                                                  19 seconds
                                                       seconds
                  ©
                  o    Active Views
                       Active Views




HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL                                                                       GOOG-AT-MDL-000881 103
                                                                                          GOOG-AT-MDL-000881103

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            Custom Bidding
            Custom Bidding
             @   Agencies like features
                 Agencies like features that
                                        thet heip
                                             help them
                                                  them show
                                                       show their
                                                            thelr value-add
                                                                  value-add to
                                                                            to their
                                                                               their advertisers
                                                                                     acivertisers
             @   But providing
                 But providing them
                               them knobs
                                    knobs that could come
                                          that could come in
                                                          in the
                                                             the way
                                                                 way of
                                                                     of optimization
                                                                        optimization and
                                                                                     and
                 oerfarmance gains
                 perfonnance gains is
                                   is detrlmental,
                                      detrimental,
             ®
             @   Custom bldding
                 Custom bidding is
                                ls one
                                   one example
                                       example of
                                               of a
                                                  a feature
                                                    feature where agencies and
                                                            where agencies and Google
                                                                               Google are
                                                                                      are aiigned
                                                                                          allgned
                  Oo
                  o    Agencies have sorne
                       Ageneies have some informafam
                                           information about
                                                       about what's
                                                             what's valuable
                                                                    valuab eto  thelr advertisers
                                                                             to their advertisers
                  ©
                  o    Sometimes thls
                       Sometimes this is
                                      is complex,
                                         complex, and
                                                  and not
                                                      not easily
                                                          easily expressible
                                                                 expressible as
                                                                             as clicks
                                                                                clicks and
                                                                                       and conversions
                                                                                           conversions
                  G
                  o    insuch
                       In      cases, we
                          such cases, we offload
                                         offload the
                                                 the value
                                                     value attribution
                                                           attribution component
                                                                       component to
                                                                                 to agencies,
                                                                                    agencies, and
                                                                                              anc use
                                                                                                  use
                       Google optimization
                       Google optimization technology
                                           technology to
                                                      to maximize
                                                         maximize that
                                                                  that value,
                                                                       value,




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HIGHLY CONFIDENTIAL                                                                          GOOG-AT-MDL-000881 104
                                                                                             GOOG-AT-MDL-000881104

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            Custom bidding
            Custom bidding

                                ao                    I
                                                                                                                                       Model learns
                                                                                                                                       Model  learns from
                                                                                                                                                      from
                                                                                                                                       impression values
                                                                                                                                                    values




                                                                                                                                 7O0
                                                                                                                                       impression




                  Use, idec: ,: . , : : : - - -- - - - -DV36D
                                                        '      sco~s / '
                  User identifies use case              DV360 scores

                                   •                     impressions




                                                                                                                                 —9
                      $• Design
                      ,  Design impression-
                                impression- scoring
                                            scoring script
                                                    script                                                         aie


                        713 3
                        ,I
                             44+ • def
                                   def Compu
                                         ComputeImpressionValue(
                                                  t el mpressionValue( features,      events): :
                                                                          features , events)
                             5S+ • if if features.domain
                                           features . domain ==       ‘cnn.com': :
                                                                  == 'cnn.com'
                             6•          if hour_of_day
                                         if     hour _of_day>> 16 16 and
                                                                      and hour
                                                                           hour_of_day
                                                                                _of_day < < B23: :
                             7               rreturn
                                                eturn0.2 0.2
                             8By •       else: :
                                         else
                             99             rreturn      0.05
                                                                                                                                             Algorithm bids
                                                etu rn0.0S
                            10+ •
                           10         elif features.domain
                                      elif                     =
                                                futures . domil i n == ‘wired,   come’: :
                                                                         'wired.~ome•                                                        Algorithm bids
                                                                                                                         •ie   User
                                                                                                                               User
                                                                                                                                            for impressions
                           11|           return
                                         retu        0.1
                                                 rn0.1
                                      else:                                                                                                 for impressions
                                                                                                                         •@    pv360
                          :~
                           ,~•        else
                                         ret  : urn0.1
                                         return      0.) ~* events   num_clicks +, 1,0
                                                              events .num_clicks      1,0) *• events
                                                                                               events .num_conversions
                                                                                                      .num_conversions
                                                                                                                               DV360




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HIGHLY CONFIDENTIAL                                                                                                                                           GOOG-AT-MDL-000881105
                                                                                                                                                              GOOG-AT-MDL-000881105

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            Custom Bidding
            Custom Bidding

              Trial results to
              Trial results to date
                               date
                                                         Use case
                                                         Use case                    % ofTrials
                                                                                     % of Trials               Avg. Perf.
                                                                                                               Avg. Perf. Lift**
                                                                                                                          Lift**

               •e %
                  % of
                    of trials
                       trials where
                              where test
                                     test               Weighted
                                                                                         49%                         +205%
                                                       conversions
                  outperformed    control:
                  outperformed control:
                  73%
                  73%                               Transaction value
                                                    Transaction value                    19%
                                                                                         19%                          +89%
                                                                                                                      +89%

                                                          Other*                         32%                         +207%
               •e Aggregate    performance
                  Aggregate performance                   Other*                         32%                         +207%

                  uplift (averaged
                  uplift  (averaged across
                                    across       •* Other
                                                    Other includes
                                                          includes use
                                                                    use cases
                                                                        cases e.g.
                                                                               e.g. regression
                                                                                    regression against
                                                                                                against offline
                                                                                                        offline metric,
                                                                                                                metric, custom
                                                                                                                         custom
                  trials): +180%
                  trials): +180%                 attention score,
                                                 attention  score, video
                                                                   video completion
                                                                          completion onon preferred
                                                                                           preferred domains,
                                                                                                      domains, transaction
                                                                                                                 transaction value +
                                                                                                                              value+
                                                 weighted conversions,
                                                 weighted   conversions, etc.
                                                                          etc.

                                                 ** Averaged
                                                 ••          across trials
                                                    Averaged across trials (not
                                                                           (not spend-weighted)
                                                                                spend-weighted}
               •@ 83
                  83 customers,
                     customers, current
                                current ARR
                                        ARR
                  S60M
                  $60M




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HIGHLY CONFIDENTIAL                                                                                                   GOOG-AT-MDL-000881 106
                                                                                                                      GOOG-AT-MDL-000881106

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             Pay-Per-Outcome (PPO)
             Pay-Per-Outcome (PPO)
             @
             @   Two years
                 Two years ago,
                           ago, there was a
                                there was a goal
                                            goal to
                                                 to get
                                                    get performance
                                                        performance parity
                                                                    parity between
                                                                           between tCPA
                                                                                   tCPA buying
                                                                                        buying in
                                                                                               in
                 DV360 and
                 DV360 and CDA
                           GDA
             ®
             ®   There was
                 There     no way
                       was no way to
                                  to achieve
                                     achieve this because of
                                             this because of the
                                                             the differences
                                                                 differences in
                                                                             in the
                                                                                the buying
                                                                                    buying modes
                                                                                           modes
                  o
                  o   The Bemanke
                      The Bernanke optimization
                                   optimization framework
                                                framework in
                                                          in GDA
                                                             GDA leverages
                                                                 leverages the
                                                                           the arbitrage
                                                                               arbitrage opportunities
                                                                                         opportunities
                      to win
                      to win some
                             some impressions
                                  impressions at
                                              at high
                                                 high margins
                                                      margins and
                                                              and therefore
                                                                  therefore sorne
                                                                            some at
                                                                                  at low
                                                                                     low rnargins,
                                                                                         margins,
                      providing a
                      providing a significant
                                  significant advertiser
                                              advertiser value boost
                                                         value boost


                            Maximize Conversions
                            tv1aximlze Conversions
                            sublect to
                            subject to
                            Spend s
                            Spend ¢ Budget
                                    Budget
                            Per impression
                            Per impression Margin
                                           Margin "'
                                                  « 15%
                                                     1596




HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL                                                                           GOOG-AT-MDL-000881 107
                                                                                              GOOG-AT-MDL-000881107

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             Ecosystem optimizations
             Ecosystem optimizations




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HIGHLY CONFIDENTIAL                                                     GOOG-AT-MDL-000881 108
                                                                        GOOG-AT-MDL-000881108

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             1st price
             1st price bidding
                       bidding
             ®
             @   €ven before
                 Even before AdX
                             Adx moved
                                 moved to
                                       to 1.p,
                                          ip, severai
                                               several exchanges
                                                       exchanges had
                                                                 had started
                                                                     started deviating
                                                                             deviating from
                                                                                       from
                 second prlce
                 second orice auctions,
                              auctions.
             ®
             @   Since DV360
                 Since DV360 fixed
                             fixed CPI\/
                                   CPM did not
                                           not have
                                               have any
                                                    any optimizations
                                                        optimizations at
                                                                      at that
                                                                         that time,
                                                                              time, the
                                                                                    the
                 spend on
                 spend on 3PE
                          SPE increased
                              increased dlsproportionately
                                        disproportionately and
                                                           and came
                                                               came at
                                                                    at the
                                                                       the expense
                                                                           expense of
                                                                                   of
                 advertiser per-form
                 advertiser performance
                                     a nee
             ®
             @   Project Poirot
                 Project Pofrot was
                                was concelved
                                    conceived to
                                              to lower-
                                                 lower advertiser
                                                        advertiser bids
                                                                   oicis in
                                                                         in first-price
                                                                            first-price auctions
                                                                                        auctions
                 to maximize
                 to maximize advertiser
                             advertiser surplus,
                                        surplus. Changes
                                                 Changes were
                                                         were rnade
                                                              made both
                                                                    both to
                                                                         to fixed
                                                                            fixed CPM
                                                                                  CPM a
                                                                                      and
                 auto-bidding advertiser
                 auto-bidding advertiser bids,
                                         bids.
             ®
             @   OV360 can
                 DV360 can be
                           be thought
                              thought of
                                      of as
                                         as completed
                                            completed automated
                                                      automated since
                                                                since we
                                                                      we appiy
                                                                         apply auction
                                                                               auction
                 optimizations even
                 optimizations even on
                                    on the
                                       the fixed
                                           fixed CPM
                                                 CPM slice
                                                     slice




HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL                                                                            GOOG-AT-MDL-000881 109
                                                                                               GOOG-AT-MDL-000881109

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             Poirot
             Poirot
                                                       Optimal Bid
                                                       Optimal Bid Multiplier
                                                                   Multiplier
                                                                        ai
                              0B&B .                                                                    Impressions
                                                                                                        Impressions           Revenue
                                                                                                                              Revenue
                              =
                              0




                    oa                                                                                   326,251,926
                                                                                                         326,251 ,926          450,532
                                                                                                                               450,532
                      ~
                      Fs0
                      e.-                                                                AdX
                                                                                         AdX
                       <ll    lO
                       a
                       Cl =                                                                              332,397 428
                                                                                                         332,397,428           467,690
                                                                                                                               467,690
                       affi
                      .c
                                                                                                            1.88%
                                                                                                            1.88%              3.81%
                                                                                                                               3.81%
                      u57                                                                              (1.82,
                                                                                                       [1
                                                                                                       EEE
                                                                                                               1.95] %
                                                                                                          .82. 1.95] %      [3.65, 3.97]
                                                                                                                            [3.65.  3.97] %
                                                                                                                                   EE
                                                                                                                                          %
                       U)

                      2:::,
                      e-
                      ge
                      3:::,
                              0                                                                          185,614,226
                                                                                                         185,614,226           625,828
                                                                                                                               625,828
                      wo
                      (/)

                                                               —— Adx                    3PE
                                                                                         3PE             147,836,047
                                                                                                         147,836,047           356,1090
                                                                                                                               356,109
                                                               -—=OoenxOpenX
                                                               -- <=   Pubmatic
                                                                       Pubmatic                           -20.35%
                                                                                                          -20.35%             -43.10%
                                                                                                                             -43.10' %o

                              0iB                              -       Improve Digital                 l-20.47, -20.231 % l-43.21 , -42.981 %
                                                                                                   ‘
                              ',;>
                                  '     i     T           T             T            T

                                       0.6
                                       0.6   0.7
                                             0.7         0.8
                                                         0.8           0.9
                                                                       0.9         1.0
                                                                                   1.0
                                                       Multiplierer
                                                   Bid Multipli
                                                   Bid                                   Boosts net
                                                                                         Boosts     revenue by
                                                                                                net revenue    $150M
                                                                                                            by $150M

               Advertiser
               Advertiser surplus is a
                          surplus is a function of value
                                       function of value -- cost
                                                            cost




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                                                                                                                             GOOG-AT-MDL-000881110

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HIGHLY CONFIDENTIAL                                                     GOOG-AT-MDL-000881 111
                                                                        GOOG-AT-MDL-000881111

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             Multi-calls that
             Multi-calls      exploit the
                         that exploit the budget
                                          budget server
                                                 server
            True Query
            True Query Volume
                       Volume                                           Inflated Query
                                                                        Inflated Query Volume
                                                                                       Volume
                                                    •e Adx
                                                       Adx                                                        •e Adx
                                                                                                                     Adx
                                                   @• United
                                                       United                                                     •e United
                                                                                                                     United
                                                   e• Rubicon
                                                       Rubicon                                                    •e Rubicon
                                                                                                                     Rubicon
                                                   e@• Pubmatic
                                                       Pubmatic                                                   •@ Pubmatic
                                                                                                                     Pubmatic
                                                   e• Other
                                                       Other                                                      •e Other
                                                                                                                     Other




                                                                                                      *charts are
                                                                                                      'charts are for illustration only
                                                                                                                  for illustration      (not
                                                                                                                                   only (not
                                                                                                      actual numbers)
                                                                                                      actual numbers)
              •   DBM is
                  DBM is over
                         over 80%
                              80% budget
                                  budget constrained
                                         constrained
              •   Every query,
                  Every query, a
                               a budget
                                 budget constrained
                                        constrained ad
                                                    ad participates
                                                       participates in
                                                                    in the
                                                                       the auction
                                                                           auction with some budget
                                                                                   with some budget throttling
                                                                                                    throttling probability
                                                                                                               probability
              •   Exchanges send
                  Exchanges send multiple
                                 multiple calls
                                          calls for
                                                for a
                                                    a single
                                                      single query
                                                             query to
                                                                   to get
                                                                      get multiple
                                                                          multiple shots
                                                                                   shots at
                                                                                         at budget
                                                                                            budget throttling
                                                                                                   throttling and
                                                                                                              and land
                                                                                                                  land the
                                                                                                                       the
                  largest bid
                  largest bid
                    Oo
                    o    Money flows
                         Money       to publishers
                               flows to publishers and
                                                   and exchanges
                                                       exchanges that
                                                                 that use
                                                                      use repeated
                                                                          repeated calls
                                                                                   calls
                    oO
                    o    Even if
                         Even if an
                                 an exchange
                                    exchange (say
                                             (say Adx
                                                  Adx or
                                                      or United)
                                                         United) has
                                                                 has the
                                                                     the lowest
                                                                         lowest margins,
                                                                                margins, DBM
                                                                                         DBM might
                                                                                             might win
                                                                                                   win through
                                                                                                       through a a different
                                                                                                                   different
                         exchange (say
                         exchange {say Pubmatic)
                                       Pubmatic) simply
                                                 simply because
                                                        because the bid was
                                                                the bid     10x higher!
                                                                        was lOx higher!




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HIGHLY CONFIDENTIAL                                                                                                   GOOG-AT-MDL-000881112
                                                                                                                      GOOG-AT-MDL-000881112

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            Project Elmo
            Project Elmo leverages
                         leverages cookie
                                    cookie based
                                            based budget
                                                   budget throttling
                                                           throttling
            to ensure
            to ensure more
                      more consistent
                            consistent bids
                                        bids across
                                             across calls
                                                     calls

             •e   We fix
                  We     the advertisers
                     fix the advertisers that
                                         that can
                                              can purchase
                                                  purchase a
                                                           a
                                                                  Detective   Elmo:
                  query from
                  query      a given
                        from a given cookie
                                     cookie during
                                            during any
                                                   any
                                                               The C     kie Case
                  specific time_bucket
                  specific time_bucket (budget
                                       (budget throttling
                                               throttling
                  based on
                  based on cookie
                           cookie X
                                  X time_bucket)
                                    time_bucket)
             •e   We bid
                  We bid the
                         the same
                             same across
                                  across multiple
                                         multiple calls
                                                  calls
                  since they
                  since they occur
                             occur close
                                   close to
                                         to each
                                            each other
                                                 other in
                                                       in
                  time
                  time
             •e   Cookie usage
                  Cookie usage goes
                               goes deep
                                    deep (solution
                                         (solution is
                                                   is
                  somewhat easy
                  somewhat easy in
                                in this
                                   this case)
                                        case)




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HIGHLY CONFIDENTIAL                                                                   GOOG-AT-MDL-000881113
                                                                                      GOOG-AT-MDL-000881113

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            Supply path
            Supply path optimization
                        optimization
             •e   Thesame
                  The      inventory (e.g.,
                      same inventory (e.g., nytimes.com)
                                            nytimes.com) is
                                                         is available
                                                            available through
                                                                      through several
                                                                              several paths
                                                                                      paths (AdX,
                                                                                            (AdxX,
                  Rubicon etc),
                  Rubicon etc), and sometimes involving
                                and sometimes involving multiple
                                                        multiple hops
                                                                 hops (Rubicon
                                                                      (Rubicon buys,
                                                                               buys, then
                                                                                     then re-sells
                                                                                          re-sells to
                                                                                                   to
                  AdX)
                  AdX)
             •e   We have
                  We have started
                          started receiving
                                  receiving some
                                            some data
                                                 data (se
                                                      (sellers.json   and SupplyChain
                                                          llers .json and SupplyChain) ) regarding
                                                                                         regarding the
                                                                                                   the
                  paths, though
                  paths, though adoption
                                adoption of
                                         of such
                                            such standards
                                                 standards are
                                                           are still
                                                               still quite
                                                                     quite low
                                                                           low
             •e   Regardless, SPO
                  Regardless, SPO is
                                  is a
                                     a popular
                                       popular feature
                                               feature request
                                                       request from
                                                               from advertisers,
                                                                    advertisers, and
                                                                                 and is
                                                                                     is an
                                                                                        an area
                                                                                           area of
                                                                                                of
                  active investigation
                  active investigation for
                                       for us
                                           us




HIGHLY CONFIDENTIAL
HIGHLY CONFIDENTIAL                                                                           GOOG-AT-MDL-000881114
                                                                                              GOOG-AT-MDL-000881114

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            Current priorities
            Current priorities
             1.1, Core
                  Core optimization
                       optimization
                 a
                 a,   Exchande bidding
                      Exchange  bidding
                 b
                 b,   Budget rianagement
                      Budqet manaqement
             2. Lilypad/
             2, Lilypad/ Ribbit
                         Ribbit
                 a
                 a,   Measurement
                      Measurement
                 b
                 b,   Fimcdge
                      Fledqe
                 c,
                 c,   Topics
                      Topics
             3. Optimized
             3, Optimized targeting
                           targeting
             4. Customizations
             4, Customizations
                 a.
                 a,   Gustom bidding
                      Custom  bidding
                 b.
                 b,   Semantic matching
                      Semantic  matching




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HIGHLY CONFIDENTIAL                                                     GOOG-AT-MDL-000881115
                                                                        GOOG-AT-MDL-000881115

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             Google
             G       Marketing Platform
               oogle Marketing Platform




             DV3 Optimized
             DV3  Optimized Targeting
                            Targeting
             Review
             Review
             Driving Performance
             Driving Performance with
                                 with fully automated campaigns
                                      fully automated campaigns


             -
             September
             S          01 2022
               eptember 01 2022
             dbm-optimization
             dbm-optimization




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HIGHLY CONFIDENTIAL                                                     GOOG-AT-MDL-000881 116
                                                                        GOOG-AT-MDL-000881116

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             Summary
             Summary


              •e   Optimized Targeting
                   Optimized  Targeting (OT)
                                         (OT) is
                                               is a
                                                  a new
                                                    new targeting
                                                         targeting framework
                                                                    framework that
                                                                                that empowers
                                                                                     empowers advertisers
                                                                                                advertisers to
                                                                                                            to
                   leverage the
                   leverage the power
                                power of
                                       of Google
                                           Google MLML for
                                                       for targeting
                                                            targeting to
                                                                      to further
                                                                         further improve
                                                                                 improve their
                                                                                         their KP
                                                                                               KPIsls


              •e   Developed with
                   Developed  with an
                                    an eye
                                        eye on
                                             on the
                                                 the cookieless   world and
                                                      cookieless world   and a
                                                                             a more
                                                                               more efficient
                                                                                       efficient optimization
                                                                                                 optimization
                   framework, OT
                   framework,  OT shifts
                                   shifts the
                                           the focus
                                                focus from   binary audience
                                                        from binary  audience eligibility
                                                                               eligibility decisions
                                                                                           decisions to
                                                                                                      to bidding
                                                                                                         bidding
                   decisions across
                   decisions across query
                                      query and
                                              and users
                                                    users


              •e   The results
                   The  results show
                                show substantial
                                     substantial improvements
                                                 improvements in
                                                              in advertiser
                                                                 advertiser performance
                                                                            performance across
                                                                                        across bidding
                                                                                               bidding
                   strategies
                   strategies




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                                                                                                        GOOG-AT-MDL-000881117

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             Problems with
             Problems with today's
                           today’s targeting
                                   targeting technology
                                             technology
            •e   Today's ad
                 Today's ad serving
                            serving system
                                    system built
                                           built based
                                                 based on
                                                       on a
                                                          a manual-targeting-first
                                                            manual-targeting-first mindset.
                                                                                   mindset.
                  o
                  o    Targeting starts
                       Targeting  starts with
                                          with "manual"
                                               “manual” targeting
                                                        targeting of
                                                                  of groups
                                                                     groups of
                                                                            of users
                                                                               users (audiences)
                                                                                     (audiences) followed
                                                                                                 followed by
                                                                                                          by expansions
                                                                                                             expansions to
                                                                                                                        to
                       larger and
                       larger and "similar"
                                   “similar” audiences
                                              audiences

            •e   This approach
                 This approach has
                               has many
                                   many drawbacks:
                                        drawbacks:
                  oo   The goal
                       The goal is
                                is to
                                   to optimize
                                      optimize advertiser
                                               advertiser KPI.
                                                          KPI. User
                                                               User expansion
                                                                    expansion is
                                                                              is a
                                                                                 a prescriptive
                                                                                   prescriptive and
                                                                                                and suboptimal
                                                                                                    suboptimal solution
                                                                                                               solution to
                                                                                                                        to
                       this optimization
                       this optimization problem
                                         problem
                  oo   User expansions
                       User  expansions are
                                          are made
                                              made using
                                                   using several
                                                         several notions
                                                                 notions of
                                                                         of user
                                                                            user similarity,
                                                                                 similarity, leading
                                                                                             leading to
                                                                                                     to dozens
                                                                                                        dozens of
                                                                                                               of complex
                                                                                                                  complex
                       models with
                       models         problematic feedback
                                with problematic   feedback loopsloops in
                                                                        in the
                                                                           the system
                                                                                system
                  oo   The extent
                       The  extent of
                                    of expansion
                                        expansion is
                                                   is ill-defined
                                                       ill-defined (slider
                                                                    (slider controlled
                                                                            controlled with  no clear
                                                                                        with no  clear notion
                                                                                                        notion of
                                                                                                                of optimal
                                                                                                                   optimal extent)
                                                                                                                           extent)
                  ©o   Post 3PCD,
                       Post  3PCD, the    notion of
                                      the notion of targeting
                                                     targeting a a specific
                                                                   specific user
                                                                              user group
                                                                                   group doesn't
                                                                                          doesn’t exist
                                                                                                   exist any
                                                                                                          any more
                                                                                                               more

            •e   Today's auto-targeting
                 Today's auto-targeting technology
                                        technology has
                                                   has been
                                                       been in
                                                            in use
                                                               use in
                                                                   in Google
                                                                      Google Ads
                                                                             Ads for
                                                                                 for more
                                                                                     more than
                                                                                          than a
                                                                                               a decade
                                                                                                 decade
                  ©
                  o    DVS3 is
                       DV3  is the
                               the first Google buyer
                                   first Google buyer to
                                                      to employ
                                                         employ this
                                                                this new
                                                                     new auto-targeting
                                                                         auto-targeting technology.
                                                                                        technology.




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HIGHLY CONFIDENTIAL                                                                                                      GOOG-AT-MDL-000881118
                                                                                                                         GOOG-AT-MDL-000881118

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            Bird’s eye
            Bird's eye view of Optimized
                       view of Optimized Targeting
                                         Targeting
                                 Determine optimal
                                 Determine   optimal ad
                                                      ad ranking
                                                         ranking &
                                                                 &
                                 auction bids
                                 auction bids to  maximize advertiser
                                               to maximize  advertiser KPI
                                                                       KPI
                                 Subject to
                                 Subject    Performance goal
                                         to Performance    goal

               Optimized targeting
               Optimized  targeting aims
                                     aims to
                                          to solve
                                             solve the
                                                   the above
                                                       above optimization
                                                             optimization problem
                                                                          problem more
                                                                                  more directly
                                                                                       directly (instead
                                                                                                (instead of
                                                                                                         of
               being prescriptive
               being prescriptive about
                                   about user
                                         user expansions)
                                               expansions)

               Advertisers observe
               Advertisers  observe thethe same
                                           same KPI
                                                KPI / / dollar
                                                        dollar with
                                                               with optimized
                                                                    optimized targeting
                                                                              targeting as
                                                                                        as when targeting only
                                                                                           when targeting only
               using manual
               using  manual criteria
                              criteria




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HIGHLY CONFIDENTIAL                                                                               GOOG-AT-MDL-000881119
                                                                                                  GOOG-AT-MDL-000881119

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                            More Details




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                                                                        GOOG-AT-MDL-000881120

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             Current Targeting
             Current Targeting Framework
                               Framework
                                                                             A                Space of
                                                                                              Space of Queries
                                                                                                       Queries


              •e   Advertisers provide us
                   Advertisers provide us their
                                          their audience
                                                audience input
                                                         input
                   (e.g., in
                   (e.g., in market
                             market for
                                    for shoes,
                                        shoes, RMKT
                                               RMKT list).
                                                    list).

              •e   When   opted-in, the
                   When opted-in,     the Auto-Targeting/Similar-
                                           Auto-Targeting/Similar-
                   Audience    system adds/removes
                   Audience system       adds/removes Google
                                                          Google
                   Audience    criteria (AT)
                   Audience criteria     (AT) or
                                              or similar
                                                 similar users
                                                         users (SA)
                                                                (SA) on
                                                                     on aa
                   daily/hourly basis
                   daily/hourly    basis based
                                          based on
                                                 on whether
                                                     whether they
                                                              they
                   perform well.
                   perform   well.

              •e   Westill  make 0-1
                   We still make 0-1 cutoff
                                     cutoff decisions
                                            decisions for
                                                      for all
                                                          all
                   advertisers once
                   advertisers once their “auto” criteria
                                    their "auto" criteria are
                                                          are added
                                                              added. .                                                              =

              •e   Targeting Expansion
                   Targeting Expansion systems
                                       systems are
                                               are hand-tuned
                                                   hand-tuned to
                                                              to                 D
                                                                                 |__| Manual Targeting Criteria (provided by Advertiser)
                                                                                        Manual Targeting Criteria (provided by Advertiser)

                   trade-off revenue
                   trade-off revenue and
                                     and computational
                                         computational resources.
                                                       resources.                D
                                                                                 [|      oa          Criteria (generated by Google
                                                                                        Auto Targeting Criteria (generated by Google
                                                                                        Ads/DV3)
                                                                                          Ss




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HIGHLY CONFIDENTIAL                                                                                                      GOOG-AT-MDL-000881 121
                                                                                                                         GOOG-AT-MDL-000881121

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            Optimized Targeting
            Optimized Targeting

             •e   Advertisers continue to
                  Advertisers continue to provide
                                          provide us
                                                  us              4      Space
                                                                         Space of
                                                                                of Queries
                                                                                   Queries
                  audience inputs (e.g.,
                  audience inputs (e.g., in
                                         in market
                                            market for
                                                   for
                  shoes)
                  shoes)


             •e   The advertisers’
                  The              ads will
                      advertisers' ads      be considered
                                       will be considered
                  eligible on
                  eligible on all
                              all queries.
                                  queries.

             •e   The
                  The advertiser's audience input
                      advertiser's audience input along
                                                  along
                  with query
                  with query and
                             and user
                                 user interest-based
                                      interest-based
                  signals are
                  signals are used
                              used to
                                   to generate
                                      generate an optimal
                                               an optimal
                  ad ranking
                  ad         and auction
                     ranking and auction bid
                                         bid that
                                             that




                                                                                                  v
                  maximizes advertiser
                  maximizes advertiser KPI.
                                       KPI.




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HIGHLY CONFIDENTIAL                                                                          GOOG-AT-MDL-000881122
                                                                                             GOOG-AT-MDL-000881122

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            Optimized Targeting
            Optimized Targeting

             •e   Whyis  OT a
                  Why is OT a better
                              better technology?
                                     technology?
                   o
                   o   Directly optimizes
                       Directly optimizes advertiser
                                              advertiser KPI
                                                          KPI without
                                                              without using
                                                                       using the
                                                                             the prescriptive
                                                                                  prescriptive "similar
                                                                                                “similar
                       users/criteria” that
                       users/criteria"   that are
                                               are continuously
                                                   continuously added
                                                                  added and
                                                                         and removed
                                                                              removed
                   o   The solution
                       The  solution is
                                      is optimal,
                                          optimal, rather
                                                    rather than
                                                           than aa suboptimal
                                                                   suboptimal 0-1
                                                                               0-1 eligibility
                                                                                    eligibility
                   o   System is significantly simpler and explainable
                       System   is significantly   simpler  and explainable

             •e   How does
                  How does OT
                           OT manage
                              manage computational
                                     computational cost?
                                                   cost?
                   o
                   o   Leans heavily
                       Leans  heavily on
                                       on the
                                           the Brasilia
                                               Brasilia framework.  Ultra-efficient ML
                                                        framework. Ultra-efficient  ML models
                                                                                       models can
                                                                                               can handle
                                                                                                   handle
                       large-scale ad
                       large-scale  ad candidate
                                        candidate scorings.
                                                    scorings.
                   o
                   o   Project Phi
                       Proiect  Phi automatically
                                    automatically optimizes
                                                     optimizes the
                                                               the revenue-resource-latency
                                                                   revenue-resource-latency trade-offs
                                                                                             trade-offs in
                                                                                                        in the
                                                                                                           the
                       system
                       system

             •e   What
                  What would the advertiser
                       would the advertiser see?
                                            see?
                   o
                   o   Higher conversion
                       Higher conversion (or
                                         (or other
                                             other KPI)
                                                   KPI) volume
                                                        volume for
                                                               for the
                                                                   the same
                                                                       same spend
                                                                            spend compared
                                                                                  compared to
                                                                                           to manual-
                                                                                              manual-
                       only
                       only




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HIGHLY CONFIDENTIAL                                                                                        GOOG-AT-MDL-000881 123
                                                                                                           GOOG-AT-MDL-000881123

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                      Experiment Results




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                                                                        GOOG-AT-MDL-000881124

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           Experiment Results:
           Experiment Results: Buyside
                               Buyside View
                                       View

                                                           Impressions
                                                           Impressions                 RevenueT
                                                                                       RevenueT


                         Total (Network)
                         Total (Network)                       0.5%
                                                               0.5%                     14%
                                                                                        1.4%

                                DBM
                                DBM                            2.6%
                                                               2.6%                     9.1%
                                                                                        5.1%

                                GDA
                                GDA                           -0.3%
                                                              -0.3%                     -0.2%
                                                                                        -0.2%

                                 UAC
                                 UAC                          -0.3%
                                                              -0.3%
                      TT Raw
                         Raw stats
                             stats based
                                   based on
                                         on cookie-experiment stats @10%
                                            cookie-experiment stats @10% for
                                                                         for 5
                                                                             5 days.
                                                                               days.




                                                                                                  RASTA




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HIGHLY CONFIDENTIAL                                                                               GOOG-AT-MDL-000881125
                                                                                                  GOOG-AT-MDL-000881125

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             Experiment Results:
             Experiment Results: DV3
                                 DV3 Spend
                                     Spend on
                                           on Sellside
                                              Sellside Slices
                                                       Slices

                                                                            DV3
                                                                            DV3           Impressions
                                                                                          Impressions    Spend
                                                                                                         Spend


                 •@        Number of
                           Number of DBM
                                     DBM ads
                                         ads returned
                                             returned to
                                                      to mixer
                                                         mixer              All
                                                                             All            +3.4%
                                                                                            +3.4%        +4.9%
                                                                                                         +4.9%
                           increased by
                           increased by

                           oe Seer
                           o 6.8% on Cat2 stack
                           © 15%
                           o 15% on
                                 on bid
                                    bid stack
                                        stack
                                                                          AdSense
                                                                          AdSense           +1.6%
                                                                                            +1.6%        +4.1%
                                                                                                         +4.1%
                      •e     More opportunities
                             More opportunities are
                                                are unlocked
                                                    unlocked on
                                                             on
                            3pe due
                            3pe due to
                                    to better
                                       better expansions
                                              expansions for
                                                         for the
                                                             the            ADX
                                                                            ADX             -1.1%
                                                                                            -1.1%        +0.9%
                                                                                                         +0.9%
                             limited manual
                             limited manual audience
                                            audience signals.
                                                     signals.

                                                                           AdMob
                                                                           AdMob            2.9%
                                                                                            2.5%         3.4%
                                                                                                         3.4%


                                                                      External Exchange
                                                                      External Exchange    +11.8%
                                                                                           +11 .8%       9.8%
                                                                                                         9.8%

                                                                                                           RASTA
                                                                                                           RASi~gle




  Rasta Reference:
  Rasta  Reference:
  https://experiments.corp.google.com/#/portal/experiments/analysis?label=_:uJkA7PW6nCeybh7CClwLpmf5CYY
  https://experiments.corp.google.com/#/portal/experiments/analysis?label= _:uJkA7PW6nCeybh7CClwlpmf5CYY




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HIGHLY CONFIDENTIAL                                                                                     GOOG-AT-MDL-000881 126
                                                                                                        GOOG-AT-MDL-000881126

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                Spend Landscape
                Spend Landscape Pre/Post-OT
                                Pre/Post-OT
                                                                                                               Significant spend
                                                                                                               Significant spend increase
                                                                                                                                 increase on
                                                                                                                                          on   a
                        Post OT
                        Post OT


                 (62%) no Expansion




                        (19%) GA~ AT




                   (14%) RMKT - SA




                 (13%) mixed -ATISA



                                                                                                                                                        250%




                   fH
                   □      Manual RMKT:
                          Manual RMKT: Remarketing
                                       Remarketing
                    ■ Manual
                   Hi Manual GA:
                               GA: Google
                                    Google Audience
                                            Audience
                   i■ SA:
                      SA: Similar
                          Similar Audience,
                                   Audience, Existing
                                              Existing Targeting
                                                       Targeting Expansion
                                                                 Expansion for
                                                                           for Remarketing,
                                                                               Remarketing, replaced
                                                                                            replaced by
                                                                                                     by OT
                                                                                                        OT
                   ■i AT:
                      AT: Auto
                          Auto Targeting,
                                Targeting, Existing
                                            Existing Targeting
                                                     Targeting Expansion
                                                               Expansion tor
                                                                         for Google
                                                                             Google Audience,
                                                                                    Audience, replaced
                                                                                              replaced by
                                                                                                       by OT
                                                                                                          OT
                   Hi Remaining: Other
                   ■ Remaining:    Other targeting
                                          targeting


                     ** include
                        include Lis
                                Lis using
                                    using CPA
                                          CPA and
                                              and CPC
                                                  CPC strategies.
                                                      strategies.                                                                                    Google




  GA --AT:
  GA   AT: all
            all Us
                LIs using
                     using Google
                             Google Audience   and auto
                                     Audience and   auto targeting.
                                                          targeting.
  RMKT -- SA:
  RMKT    SA: all
                all Us
                    LIs using
                         using RMKT
                                 RMKT and  expansions (SA).
                                       and expansions   (SA).
  Mixed -- AT/SA:
  Mixed    AT/SA: allall Us
                         LIs using
                              using either
                                    either RMKT
                                           RMKT or
                                                 or GA
                                                    GA and    enabled expansions.
                                                        and enabled   expansions.




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             Experiment Results:
             Experiment Results: DV3
                                 DV3 Performance
                                     Performance Metrics
                                                 Metrics
               Line Items
               Line Items opted-in
                          opted-in targeting
                                   targeting expansions
                                             expansions



                                                                  Spend
                                                                  Spend    REMH CPD
                                                                           REMH CPD   Spend/2 +
                                                                                      Spend/2 + CPD
                                                                                                CPD


                                       Max Conv
                                       MaxConv                    +40%       4%
                                                                  +40%       -4%         +16%
                                                                                         +16%
                                 (30% share
                                 (30%       of spend)
                                      share of spend)


                                      Max  Clicks
                                      Max Clicks                  445%      +21%         +44%
                                                                  +45%      +21%         +44%
                                 (14% share
                                 (14%       of spend)
                                      share of spend}


                                  Max ActiveView
                                  Max ActiveView                  +28%      +20%         +34%
                                                                  +28%      +20%         +34%
                                  (8% share
                                  (8% share of
                                            of spend)
                                               spend)




                T Active-View-PD
                T                is used
                  Active-View-PD is used for
                                         for Max
                                             Max Active-View.
                                                 Active-View.
                                                                                                            Google




  https://docs.google.com/spreadsheets/d/1 NGajdjFyukjVDxG0VIT-di2twzkOjgYs_Pp211
  https://docs.google.com/spreadsheets/d/1 NGajdjFyukjVDxGOVIT-di2twzkOjgYs_Pp211bynA0/edit#gid=0
                                                                                  bynA0/edit#gid=0




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